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 6
 7                        IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                 EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                       )   1:06-CR-247 AWI
10                                                   )
                            Plaintiff,               )   ORDER DIRECTING ENTRY OF FINAL
11                                                   )   JUDGMENT OF FORFEITURE OF BOND
            v.                                       )
12                                                   )
     RENE CASTENEDA,                                 )
13                                                   )
                            Defendant, and           )
14                                                   )
     JOSE M. BARRON and                              )
15   ANA ERIKA BARRON,                               )
                                                     )
16                          Sureties.                )
                                                     )
17                                                   )
18          The United States of America having moved for an order directing the Clerk of the United
19   States District Court to enter judgment of default against the defendant Rene Casteneda and sureties,
20   JOSE M. BARRON and ANA ERIKA BARRON, in the amount of Two Hundred Thousand Dollars
21   ($ 200,000); and it appearing to the Court from the entire record that the requested relief should be
22   granted,
23          IT IS HEREBY ORDERED, that the Clerk of the United States District Court is hereby
24   directed to enter judgment against the defendant Rene Casteneda, as principal, and Jose M. Barron
25   and Ana Erika Barron, as sureties , in the amount of Two Hundred Thousand Dollars ($ 200,000).
26
     IT IS SO ORDERED.
27
     Dated:      July 1, 2008                          /s/ Anthony W. Ishii
28   0m8i78                                   UNITED STATES CHIEF DISTRICT JUDGE

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